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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                          CASE NO. 1:23-cr-111
                   Plaintiff,

         vs.
                                                           JUDGE HOPKINS
 RICHARD CROSBY,
 a/k/a “Richard Williams,”
 a/k/a “Chris Miller,”

                   Defendant.



                      GOVERNMENT’S SENTENCING MEMORANDUM

        Pursuant to the Rule 11(c)(1)(C) plea agreement in this case, the United States

respectfully recommends that the Court impose the stipulated 37-month prison sentence.

   I.      The Guideline Range

        When the parties drafted the plea agreement, the parties contemplated that the

defendant’s guideline range would be 37 to 46 months (offense level 21, criminal history

category I). The Probation office calculated the same range in its initial presentence report,

which was filed on August 22, 2024 (ECF no. 33, ¶ 108). In other words, it appeared at first that

the plea agreement’s 37-month stipulated sentence represented a sentence at the low end of the

guideline range.

        However, on September 20, 2024, the government informed the Probation office and

defense counsel that the government had recently learned of some additional criminal conduct by

the defendant, which the defendant had committed while he was out on bond in this case.

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Specifically, the government had learned that the defendant had been running a new scam in

which he continued to hold himself out as an attorney. He was targeting local inmates and their

families. The defendant claimed that he could help inmates with post-conviction relief like

appeals, parole, and sentence reductions. In one case, he took $2,500 from the mother of a local

inmate. The defendant performed no services in return for the $2,500.

         Based on this new information, the Probation office issued an amended initial

presentence report on October 10, 2024 (ECF no. 34). This new information caused an increase

to the defendant’s offense level. With a new offense level of 23 instead of 21, the defendant’s

guideline range increased to 46 to 57 months. The final presentence report reflects this new

range (ECF no. 35, ¶ 121).

         In short, although the stipulated sentence of 37 months in the plea agreement appeared to

represent a guideline sentence when the plea agreement was drafted, the 37-month sentence now

represents a below-guideline sentence.

   II.      Sentencing Recommendation

         The United States respectfully recommends that the Court impose the stipulated 37-

month prison sentence. Based on the defendant’s egregious, ongoing conduct, he deserves this

substantial prison sentence.

         The defendant’s conduct is well documented in the plea agreement and the presentence

report and need not be repeated here in detail. In summary, the defendant was a practicing

lawyer in Cincinnati. He ultimately resigned his law license with disciplinary proceedings

pending and was convicted in two Hamilton County criminal cases pertaining to him stealing

from his clients. Beginning in April 2021, while the bar discipline proceedings were underway,


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he began the instant offense conduct: using aliases and forged credentials to get hired for

attorney positions at various law firms across the country. He defrauded at least seven firms, and

he used personal identifying information belonging to his girlfriend, his elderly father, a

deceased person from North Carolina, and others. He even falsely represented himself as a

former United States Marine. This conduct continued until the moment of his arrest on October

26, 2023, at which point he was still on probation from his Hamilton County criminal cases.

       His conduct did not improve while he was on bond in this case. He hatched a new

scheme in which he continued to hold himself out as an attorney. As mentioned above, he was

targeting local inmates and their families, claiming that he could help inmates with post-

conviction relief like appeals, parole, and sentence reductions. In one case, he took $2,500 from

the mother of a local inmate and performed no legal work in return.

       The defendant even lied to this Court on June 25, 2024, when he appeared for a change-

of-plea hearing. He stated that he was feeling the effects of some medical issues. At a sidebar,

his attorney explained that the defendant had told her that he had been seen that morning at a

hospital and was given a morphine drip and other drugs. Based on these representations, the

Court suspended the hearing and postponed it more than six weeks, until August 8, 2024. In

reality, GPS tracking data showed that the defendant had not gone to a hospital before the

hearing. He did, however, drive to a hospital after the hearing, where he sat in the parking lot in

an apparent attempt to make it appear that he was seeking medical treatment. Shortly thereafter,

this Court revoked the defendant’s bond.

       In summary, this defendant has demonstrated over the last several years that he simply

has no interest in reforming his behavior and following the law. One would think that being


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disbarred by the State of Ohio and prosecuted by Hamilton County for stealing from clients

would have caused the defendant to reform. Unfortunately, it did not have that effect. If

anything, the lenient sentence of probation that he received from Hamilton County only served to

embolden him, as he immediately commenced the fraud scheme that gave rise to this federal

case. Similarly, when he was arrested in this case but released on bond (the government had

moved for detention), this simply enabled him to go back into the community and start

defrauding more victims through his inmate scam. Clearly, at this point, incarceration is the only

way to deter this defendant from further criminal conduct.

          Richard Crosby is the rare defendant who was given every possible advantage in life.

“[H]e enjoyed a traditional upbringing in a financially-stable household” with both parents.

(Presentence report ¶ 94). His parents were attentive. He was not abused. He played sports.

(PSR ¶ 95). He attended college and law school. He earned a law degree and passed the bar

exam. (PSR ¶ 110). He earned six-figure salaries at various employers. (PSR ¶ 113-115). In

short, he has no excuse for his conduct. A 37-month prison sentence is appropriate.

          In light of all of the above, it could reasonably be asked whether 37 months is enough

time in prison. There is very little that can be said in mitigation for this defendant, with one

exception: this man has never been to prison before. Thus, a 37-month sentence should be

sufficient to deter him from future criminal conduct.

   III.      Conclusion

          For the foregoing reasons, the United States respectfully recommends that the Court

impose the stipulated sentence of 37 months in prison.




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                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Memorandum was served via the CM/ECF

system.

                                         s/Timothy Landry
                                         TIMOTHY LANDRY (MA 669554)
                                         Special Assistant U.S. Attorney




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